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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
UNITED STATES OF AMERICA

      VS                                                   CASE NO. 3:95cr03089-29/RV

CHRISTOPHER GULLEY

                               REFERRAL AND ORDER

Referred to Senior Judge Roger Vinson on November 20, 2008
Motion/Pleadings: MOTION to Reduce Sentence (re Retroactive Application of Sentencing
Guidelines to Crack Cocaine Offense 18 USC 3582)
Filed by Defendant                       on 10/14/2007       Doc.#       1227
RESPONSES:
      None                               on                  Doc.#
                                         on                  Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                           s/Jerry Marbut
LC (1 OR 2)                              Deputy Clerk: Jerry Marbut

                                      ORDER
Upon consideration of the foregoing, it is ORDERED this 24th                     day of
 November                        , 2008, that:
(a) The relief requested is DENIED.
(b) The defendant’s sentencing guideline range is not affected by
Amendment 706.




                                          /s/   Roger Vinson
                                                         ROGER VINSON
                                             Senior United States District Judge
